Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 1 of 18 PageID: 1




           UNITED STATES DISTRICT COURT FOR
              THE DISTRICT OF NEW JERSEY

 WALTER DIBEASE and
 MONICA DIBEASE, h/w                     No.:
 166 Prospect Street
 Merchantville, NJ 08109

                  Plaintiffs,

            V.

 UNITED STATES OF AMERICA
 c/o United States Attorney
 District of New Jersey
 401 Market Street
 4th Floor
 Camden, NJ 08101

                  Defendant.


                        CIVIL ACTION COMPLAINT

      Plaintiffs Walter DiBease and Monica DiBease, by and through her

undersigned counsel, hereby files this Civil Action Complaint, and avers as

follows in support thereof:

I.    Parties, Jurisdiction, Venue, and Conditions Precedent

      1.    Plaintiff Walter DiBease is an adult individual and is a citizen and

resident of Camden County, New Jersey, residing therein at 166 Prospect

Street, Merchantville, NJ 08109.

      2.    Plaintiff Monica DiBease is an adult individual and is a citizen and

resident of Camden County, New Jersey, residing therein at 166 Prospect
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 2 of 18 PageID: 2




Street, Merchantville, NJ 08109. At all times material and relevant hereto

Monica DiBease was the spouse of plaintiff Walter DiBease.

      3.    Defendant, United States Government, is the proper defendant

under 28 U.S.C. §2679(d)(1) and (2) as the claims set forth herein which

are being made pursuant to the Federal Tort Claims Act, (“FTCA”), 28 U.S.C.

§2671, et seq., and 28 U.S.C. §1346(b)(1), for money damages as

compensation for personal injuries that were caused by the negligent and

wrongful acts and omissions of employees of the United States Government

while acting within the scope of their offices and employment, under

circumstances where the United States, if a private person, would be liable

to the Plaintiff in accordance with the laws of the State of New Jersey.

      4.    This Honorable Court has original jurisdiction of this matter

pursuant to 28 U.S.C. §1346(b)(1).

      5.    Venue in the District of New Jersey is proper pursuant to 28

U.S.C. §1402(b) as the Plaintiff resides in the District of New Jersey and the

negligent acts and/or omissions complained of herein occurred within the

District of New Jersey.

      6.    Plaintiff has fully complied with the provisions of 28 U.S.C.

§2675 of the Federal Tort Claims Act by:

            a.    presenting notice of the Plaintiff’s claim to the appropriate

                  Federal agency, the United States Postal Service, in

                  writing, on or about May 14, 2021, with the applicable


                                       2
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 3 of 18 PageID: 3




                  time period permitted by 28 U.S.C. §2401(b); (See

                  Exhibit “A” attached hereto).

             b.   receiving both a denial of Plaintiff’s claim via letter dated

                  April 12, 2022, and waiting for a period in excess of six (6)

                  months, as required by 28 U.S.C. §2675(a) prior to

                  commencing this Civil Action. (See Exhibit “B” attached

                  hereto).

II.    Agency and Vicarious Liability

       7.    At all times material and relevant hereto, defendant United

States of America acted through its agents, servants, employees, ostensible

agents and/or workmen, specifically including, but not limited to, the

Postmaster of the United States Post Office at 25 South Haddon Avenue,

Haddonfield, New Jersey, and/or other employees at that facility, for whom

it is vicariously liable pursuant to the doctrine of respondeat superior

liability.

       8.    At all times material and relevant hereto, defendant United

States of America owned, operated, leased, managed, controlled, possessed,

and/or had dominion over the premises known as the United States Post

Office located 25 South Haddon Avenue, Haddonfield, New Jersey, and

hereafter referred to as “the premises.”




                                       3
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 4 of 18 PageID: 4




III. Facts and Background of Claim

      9.    The paragraphs and allegations stated above are incorporated

herein by reference and made a part hereof as if set forth in full.

      10.   At all times relevant hereto, defendant United States of America

had entered into a contract or agreement with other parties, the specific

terms of which are unknown to plaintiff, under which there was an obligation

on the part of the aforesaid defendant, to repair, maintain, clean, inspect

and otherwise be responsible for the aforesaid premises, including the

sidewalks, steps, and pedestrian walkways of said defendant's premises, so

that same would be safe for use by business invitees, including plaintiff

Walter DiBease.

      11.   On or about February 19, 2021, plaintiff, Walter DiBease, was a

business invitee lawfully on defendant's premises, when, suddenly and

without warning, he was caused to slip and fall due to a defective condition

and/or conditions of the steps and/or sidewalk and/or pedestrian walkways

of the aforesaid premises, which was snow and/or ice covered and/or

otherwise slippery, causing plaintiff to suffer severe, permanent, and

grievous injuries.

      12.   At all times relevant hereto, defendant herein owed a duty to

clean, maintain, inspect and otherwise be responsible for the aforesaid

premises, to provide a safe and hazard free environment and otherwise be

responsible for the aforesaid premises so that same would be safe for use by


                                       4
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 5 of 18 PageID: 5




patrons, business invitees and members of the general public, including

plaintiff.

       13.   Defendant knew and/or should have known of the said

dangerous, insecure, and therefore defective condition(s) and the likelihood

that same would cause injuries to patrons and business invitees lawfully on

the aforesaid premises in the absence of adequate safety measures.

       14.   On or about February 19, 2021, and for a long time prior

thereto, defendant did allow the premises and its environs to be and remain

in a dangerous, insecure and therefore defective condition which thereby

created an unreasonable hazard to persons lawfully on defendant's

premises.

       15.   At all times material hereto, the area which plaintiff was walking

on defendant's premises was under the exclusive possession, dominion,

and/or control of defendant herein.

       16.   The circumstances under which plaintiff was injured were such

that said injuries to plaintiff could not have occurred on said premises except

by defendant's negligence.

       17.   The aforesaid accident resulted solely from the negligence and

carelessness of defendant herein and in no manner whatsoever to any act or

failure to act on the part of plaintiff.




                                           5
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 6 of 18 PageID: 6




                      COUNT I (NEGLIGENCE)
            WALTER DIBEASE V. UNITED STATES OF AMERICA

      18.   The paragraphs and allegations stated above are incorporated

herein by reference and made a part hereof as if set forth in full.

      19.   The negligence and carelessness of defendant United States of

America, consisted of the following:

            a.    failing to inspect, correct or have corrected, repair or

                  protect the premises from defective and/or hazardous

                  conditions existing in the sidewalk area used for patrons,

                  business invitees and/or the general public on defendant's

                  premises, specifically including the steps;

            b.    allowing defective conditions to exist which defendant

                  knew or should have known created a danger/hazard to

                  patrons, business invitees and/or the general public,

                  specifically including permitting slippery and/or icy

                  conditions to exist on pedestrian walkways/steps;

            c.    allowing latent and hidden dangerous conditions to exist

                  on defendant's premises, specifically including slippery

                  and/or icy conditions on pedestrian walkways/steps;

            d.    failure to properly and adequately maintain the premises,

                  in particular, the pedestrian walkways and/or steps;

            e.    failure to warn patrons, business invitees and/or the

                  general public of the dangerous, hazardous, and unsafe

                                       6
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 7 of 18 PageID: 7




                 conditions on the premises, to wit slippery and/or icy

                 conditions;

           f.    failure to take reasonable precautions against the aforesaid

                 dangerous, hazardous and unsafe conditions of the

                 premises;

           g.    failure to provide barricades in the area of the defective or

                 dangerous conditions to prohibit patrons, business invitees

                 and/or the general public from traversing in the aforesaid

                 area of defendant's premises and/or to reduce the chance

                 of injuries to such persons resulting from the aforesaid

                 defective or dangerous conditions of the premises, or

                 in the alternative, improperly placing said barricades;

           h.    failure to properly and adequately hire and/or instruct the

                 agents, servants, workmen, employees and/or

                 representatives, of defendant herein, as to safe and proper

                 procedures for inspecting, maintaining, cleaning, and/or

                 correcting slippery and/or icy conditions of pedestrian

                 walkways and/or steps;

           j.    failure to provide safe conditions for patrons, business

                 invitees and/or the general public on the premises;

           k.    failure to act with due care and regard for the position and

                 safety of others, in particular, plaintiff;


                                       7
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 8 of 18 PageID: 8




            l.      failure to provide and maintain proper supervision of the

                    premises;

            m.      failure to provide and maintain proper safety precautions

                    at the premises;

            n.      failure to furnish a reasonable number and distribution of

                    safety personnel and safety equipment at the premises;

            o.      failure to respond in a timely manner to insecure or

                    dangerous conditions or situations at the premises;

            p.      negligence per se in violation of the Haddonfield and/or

                    Camden County Property Maintenance Code

            p.      being otherwise negligent; and

            q.      such other negligent acts and/or failures to act as may be

                    discovered during the course of discovery in this action.

      20.   As the direct and proximate result of this accident, plaintiff,

Walter DiBease, suffered serious and severe injuries which are or may be

serious and permanent, including, inter alia, the following:

                 a. Acute head injury;

                 b. Cervical radiculopathy;

                 c. Exacerbation of cervical radiculopathy;

                 d. Neck injury;

                 e. Right shoulder injury;

                 f. Right hand injury;


                                         8
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 9 of 18 PageID: 9




              g. Syncope;

              h. Vertigo;

              i. Numbness;

              j. Right leg paresthesias;

              k. Ankle weakness;

              l. Cervical disc injury;

              m. Exacerbation of cervical disc injury;

              n. The need for cervical spine surgery;

              o. Cervical myelopathy;

              p. Cervical radiculitis;

              q. Exacerbation of cervical radiculitis;

              r. The need for cervical epidural steroid injections;

              s. Back pain;

              t. Neck pain;

              u. Cervical stenosis;

              v. Exacerbation of cervical stenosis;

              w. Difficulty walking/gait dysfunction;

              x. Brachial neuritis;

              y. Surgery that required the stopping of prophylactic anti-

                 coagulation leading to deep vein thrombi;

              z. The need for hospitalization;

              aa.      Surgical scarring;


                                         9
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 10 of 18 PageID: 10




                bb.          Injuries to his nerves and nervous system;

                cc.          Injuries to his musculoskeletal system;

                dd.          The need for future medical care;

                ee.          Great pain and suffering;

                ff.          Loss of life’s pleasures;

                gg.          Post medical expenses, including by way of ERISA

                             lien

                hh.          Past and future wage loss;

                ii.          All economic and non-economic damage recoverable

                             under the law of the State of New Jersey.

      WHEREFORE, Plaintiffs demand judgment against defendant United

States of America.

             COUNT II (LOSS OF CONSORTIUM/PER QUOD)
            MONICA DIBEASE V. UNITED STATES OF AMERICA

      21.    The foregoing paragraphs are incorporated by reference hereat

as if set forth at length.

      22.    As a direct and proximate result of the negligence of the

Defendant and/or its agents and/or employees, plaintiff Monica DiBease, as

the spouse of plaintiff Walter DiBease, has suffered, and will continue to

suffer the loss of services, consortium, support, and companionship of her

husband.




                                           10
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 11 of 18 PageID: 11




      WHEREFORE, Plaintiffs demand judgment against defendant United

States of America.



                                   Respectfully submitted,

                                   LAW OFFICE OF
                                   LEON AUSSPRUNG MD, LLC


                             By:    /s/ James E. Hockenberry   _
                                   James E. Hockenberry, Esquire
                                   I.D. No.: 038942014
                                   1800 John F. Kennedy Boulevard
                                   Suite 1500
                                   Philadelphia, PA 19103
                                   267-809-8250 (p)
                                   888-800-5731 (f)
                                   Email: JH@aussprunglaw.com




                                     11
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 12 of 18 PageID: 12




    EXHIBIT “A”
      Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 13 of 18 PageID: 13


                                                    MAIN OFFICE: 1429 Walnut Street ■ Suite 300 ■ Philadelphia, PA 19102
                                                          (267) 809-8250 ■ (855) 770-0902 ■ Fax (888) 800-5731

                                                     NJ OFFICE: Society Hill Office Park ■ 1874 Route 70 East ■ Suite 4 ■
                                                                           Cherry Hill, NJ 08003
                                                                             (856) 751-9702

                                                                                                   **Admitted in PA & NJ
                                                                                                        *Admitted in PA
                                                                                                        +Admitted in NJ
                                                                                                             ^Of Counsel


Leon Aussprung, M.D., J.D., LL.M.**
James E. Hockenberry, Esquire**
Irwin L. Lifrak, M.D., J.D.+
Yulier Gonzalez, Esquire*
Robert P. Weiner, Esquire^**
                                                      May 14, 2021

       Betty Harris
       United States Postal Service
       P.O. Box 9001
       Bellmawr, NJ 08099-9331

                RE:    Our Client:            Walter DiBease
                       USPS Case #:           080-21-00504925A
                       Date of Accident:      February 19, 2021

       Dear Ms. Harris:

                Enclosed please find the completed claim form SF 95 – Claim for Damage, Injury or
       Death.

              Can you please advise if there was a private contractor who was responsible to salt the
       premises?

                Thank you for your attention to this matter.

                                                      Very truly yours,




                                                      JAMES E. HOCKENBERRY

       JEH/df
       Enclosure
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 14 of 18 PageID: 14
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 15 of 18 PageID: 15
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 16 of 18 PageID: 16




    EXHIBIT “B”
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 17 of 18 PageID: 17
Case 1:22-cv-05931-CPO-AMD Document 1 Filed 10/07/22 Page 18 of 18 PageID: 18
